Case 2:05-cr-80025-VAR-RSW ECF No. 617, PageID.5644 Filed 08/06/10 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff(s),               CASE NUMBER: 05-80025
                                                HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/


                                        ORDER

I.    INTRODUCTION

      This matter is before the Court on Timothy O’Reilly’s “Motion to Strike Unproven

and Inadmissible Allegations from the Notice of Intent to Seek Death and to Preclude

any Amendments to that Notice; Motion to Preclude Argument in Support of a Death

Sentence Using Evidence of Stricken Allegations and/or Unproven Evidence.” (Doc.

#598). O’Reilly asks the Court to strike the following language from the Notice of Intent

to Seek the Death Penalty:

      2.     Additional violent behavior: Defendant also committed other
             armored car robberies and several home invasion robberies of drug
             dealers with co-defendant Norman Duncan.

      3.     Future Dangerousness: Defendant stated that he planned to
             commit additional robberies when he is released from prison.
             Defendant stated that he intends to kill the witnesses who testified
             against co-defendant Norman Duncan when released from prison.

      O’Reilly’s motion is GRANTED.



                                            1
Case 2:05-cr-80025-VAR-RSW ECF No. 617, PageID.5645 Filed 08/06/10 Page 2 of 4




II.    ANALYSIS

       A.     Additional Violent Behavior

       The Government is prohibited from presenting evidence at the penalty phase that

O’Reilly committed other armored car robberies and several home invasion robberies of

drug dealers with Duncan; the Government agrees that there is no evidence that

O’Reilly and Duncan committed such crimes.

       However, the Government says it intends to produce evidence that O’Reilly

committed other armored car robberies and home invasion robberies of drug dealers

with co-Defendant Archie Broom.

       The Court finds the Government may introduce Broom’s testimony that he and

O’Reilly committed a home invasion robbery on October 23, 2003, as evidence in

support of the additional violent behavior aggravating factor. This testimony is

corroborated by Detroit Police Officer William Zeolla, who arrested O’Reilly on October

23, 2003 with firearms, ski mask and bullet proof vest. In addition, O’Reilly confessed to

this crime.

       The fact that the Government did not amend its Notice of Intent to include this

evidence does not change the Court’s ruling. The Government’s Notice of Intent does

not need to include the specific evidence it will rely on. See United States v. Battle, 173

F.3d 1343, 1347 (11th Cir. 1999).

       The Government is prohibited from introducing Broom’s testimony that he and

O’Reilly committed other armored car robberies and home invasion robberies of drug

dealers. This testimony is not corroborated, and it is the testimony of an accomplice,



                                             2
Case 2:05-cr-80025-VAR-RSW ECF No. 617, PageID.5646 Filed 08/06/10 Page 3 of 4




which the jury was instructed to consider with caution. See Sixth Circuit Pattern

Criminal Jury Instructions 7.08:

       You have heard the testimony of Archie Broom. You have also heard that
       he was involved in the same crime that the defendant is charged with
       committing. You should consider Archie Broom’s testimony with more
       caution than the testimony of other witnesses.

       Do not convict the defendant based on the unsupported testimony of such
       a witness, standing alone, unless you believe his testimony beyond a
       reasonable doubt.

       While there is a possibility that a rational juror could believe Broom’s testimony

beyond a reasonable doubt, the Court finds the probative value of this testimony is

outweighed by the danger of unfair prejudice, See 18 U.S.C. §3593(c). The Court

excludes the evidence from the penalty phase.

       B.     Future Dangerousness

       The Court previously prohibited the Government from introducing evidence that

O’Reilly planned to commit additional robberies when he is released from prison, and

that O’Reilly stated he intends to kill the witnesses who testified against co-defendant

Norman Duncan when released from prison, to support the allegation of future

dangerousness. See Doc. #615. That ruling continue to apply.

III.   CONCLUSION

       O’Reilly’s motion is GRANTED, consistent with this Order.

       IT IS ORDERED.

                                          s/Victoria A. Roberts
                                          Victoria A. Roberts
                                          United States District Judge

Dated: August 6, 2010


                                             3
Case 2:05-cr-80025-VAR-RSW ECF No. 617, PageID.5647 Filed 08/06/10 Page 4 of 4




 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 6, 2010.

 s/Linda Vertriest
 Deputy Clerk




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